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Grand Jury in open Court, in the presence
of the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington

UNITED STATES DISTRICT COURT # Soe St
WESTERN DISTRICT OF WASHINB TON, Se .
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Deputy
AT SEATTLE _—

UNITED STATES OF AMERICA, CASE NO. CR21-185 JCC

Piainiies INDICTMENT

Vv.
S.C. §2

HERDADE 8S. LOKUA re bee ' 37]
a/k/a Heritier M. Lokua, and 18 U.S.C. § 545
JOSPIN K. MUJANGI, 18 U.S.C. 8 1956(a)(2)(A)

Defendants. 16 U.S.C. §§ 3372(d)(2) and 3373(d)(3)(A)(G)

 

 

The GRAND JURY charges that at all times material to this Indictment:
DEFENDANTS

1, HERDADE LOKUA was an Angolan citizen and a resident of Kinshasa,
Democratic Republic of Congo (DRC).

2. JOSPIN MUJANGI was a citizen of DRC and a resident of Kinshasa, DRC.

3. The Source of Information (SOD, an unindicted coconspirator whose identity is
known to the Grand Jury, was a private entity that used online profiles to facilitate the wildlife
trade in Africa. SOI acted as a middleman between LOKUA, MUJANGI, and buyers.

4. UC was U.S. law enforcement agents working in an undercover capacity whose
identities are known to the Grand Jury.

REGULATORY BACKGROUND

5. The Convention on International Trade in Endangered Species of Wild Flora and

Fauna (“CITES”) is an international agreement among approximately 183 governments,

including the United States and the DRC, to protect fish, wildlife, and plants that are, or may

United States v. HERDADE LOKUA, et al. ENVIRONMENT AND
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become, threatened with extinction. CITES establishes import and export restrictions to protect
these species from overexploitation through international trade. The restrictions apply to live and
dead specimens, as well as the skins, parts, and products made in whole or in part from a listed
species.

6. Under CITES, species are protected according to a classification system known as
“appendices.” Appendix I consists of species threatened with extinction which are or may be
affected by trade. Appendix II of CITES consists of the species that are not presently threatened
with extinction but may become so if trade in the species is not regulated. International trade in
species listed in these appendices is monitored and regulated by permits and quotas.

7. In the United States, CITES is implemented through the Endangered Species Act
(“ESA”), 16 U.S.C. § 1531 et seg. The ESA and its implementing regulations make it unlawful
for anyone to engage in trade in any specimens contrary to CITES or to possess any specimens
traded contrary to CITES. 16 U.S.C. § 1538(¢)(1).

8. Prior to entry into the United States, all shipments of CITES Appendix-I wildlife
must have a valid CITES import permit issued by the United States CITES Management
Authority as well as a valid export or re-export permit from the country of exportation. 50 CER.
§ 23.27. International trade in a CITES-listed specimen without the required documentation is
prohibited. 50 C.F.R § 23.13(a).

9. In addition to implementing CITES, the ESA prohibits the import, possession,
sale, offer for sale, transport, or shipment, in foreign commerce, of any listed endangered
species, and prohibits the violation of any regulations pertaining to either listed endangered or

threatened species. 16 U.S.C. § 1538(a)(1)(A), 1538(a)(1)(E), 1538(a)(1)(G).

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10. Regulations promulgated pursuant to the ESA include a requirement to declare
any importation of wildlife into the United States on a Declaration for Importation or Exportation
of Wildlife, 50 C.F.R. § 14.61; a requirement to have any importation of wildlife cleared by an
officer of the U.S. Fish and Wildlife Service (USFWS) after providing all relevant shipping
documents, permits, and the wildlife itself, 50 C.F.R. § 14.52; and a requirement to mark any
importation of wildlife with an accurate list of each species’ scientific name, 50 C.F.R. § 14.81.

11. The African elephant, Loxodonta africana, is the largest living terrestrial animal
on Earth. Native to the African continent, African elephant populations have declined
significantly this century due to poaching and habitat loss. African elephants were listed as
endangered under the ESA in 1978 (50 C.F.R. §17.11(h)). Depending on the country of origin,
African elephants are listed on either CITES Appendix I or CITES Appendix II.

12. The white rhinoceros, Ceratotherium simum, is a large terrestrial herbivore that is
native to the African continent. Once thought to be extinct, it now inhabits a smal] number of
areas in Southern Africa. The white rhinoceros was listed as threatened under the ESA in 2014
(50 C.F.R. §17.11(h)), and is listed on CITES Appendix I.

13. Pangolins, which encompass four species of pangolin native to Asia and four
native to Sub-Saharan Africa, are nocturnal insectivorous mammals. Pangolins are believed to be
the most trafficked animal in the world, as their keratin scales are used in traditional Eastern
medicine, and their meat is considered a delicacy in some cultures. All species of pangolin are
listed on Appendix I of CITES.

14. The Lacey Act prohibits making or submitting any false record, account, label for
or identification of wildlife that is, or is intended to be, transported in interstate or foreign

commerce. 16 U.S.C. § 3372(d).

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COUNT 1
CONSPIRACY
(All Defendants)
15. Paragraphs 1 through 14 of the Grand Jury’s Indictment are incorporated herein
by reference as if set forth in their entirety
THE CONSPIRACY
16. Beginning on a date no later than November 2019, and continuing to at least
October 2021, in the Western District of Washington, and elsewhere,
HERDADE LOKUA and JOSPIN MUJANGI,
defendants herein, knowingly combined, conspired, confederated, and agreed with others known
and unknown to the Grand Jury, to commit an offense against the United States, that is: to

knowingly import and bring into the United States merchandise, namely wildlife, contrary to laws

and regulations of the United States, in violation of Title 18, United States Code, Section 545.

MANNER AND MEANS OF THE CONSPIRACY

17. The manner and means by which LOKUA, MUJANGI, and their co-conspirators
sought to accomplish the object and purpose of the conspiracy included, among others, the
following:

18. In furtherance of the conspiracy and to effect the illegal obj ect thereof, LOKUA,
MUJANGL, and co-conspirators used electronic messaging applications, including but not
limited to WhatsApp and Telegram, to coordinate the sale and terms of international transactions
in wildlife, provide videos and photos of wildlife, and arrange for transport of wildlife in

international commerce.

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19. In furtherance of the conspiracy and to effect the illegal object thereof, in order to
move the illegal wildlife products without alerting authorities, LOKUA, MUJANGI, and co-
conspirators would use electronic messaging applications to discuss and plan ways to avoid
detection by authorities. Specifically, LOKUA would discuss bribing local officials,
commingling the illegal wildlife with legal goods, cutting the wildlife into small pieces, spray
painting the wildlife so that it appeared to be wood, hiding the wildlife inside legal goods, and
creating false paperwork.

20. In furtherance of the conspiracy and to effect the illegal object thereof, LOKUA,
MUJANGL and co-conspirators would plan ways of moving money in international commerce
without alerting authorities, such as making multiple payments in small amounts, sending money
through a Chinese bank for withdrawal in the DRC, and using the bank accounts of multiple
individuals.

21. In furtherance of the conspiracy and to effect the illegal object thereof, LOKUA,
MUJANGI, and co-conspirators arranged a meeting in Seattle to discuss future sales of illegal
wildlife products.

OVERT ACTS

22. In furtherance of the conspiracy and in order to effect the object thereof,
LOKUA, MUGANGI, and their co-conspirators committed the following overt acts, among
others, in the Western District of Washington, the Democratic Republic of Congo, and
elsewhere:

Overt Act 1: On or about November 21, 2019, LOKUA offered SOI, via electronic

message, a price of $300 per kilogram (kg) to send elephant ivory to the United States.

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Overt Act 2: On or about November 26, 2019, LOKUA requested, via electronic
message, that SOI send $6,000, split between LOKUA and Individual A, via Western Union in
exchange for 20 kg of elephant ivory.

Overt Act 3: On or about November 27, 2019, LOKUA provided SOI, via electronic
message, with photos of LOKUA’s passport and Individual A’s identification card in order to
complete the Western Union transfer.

Overt Act 4: Between on or about November 27, 2019, and on or about December 4,
2019, LOKUA and Individual A picked up the $6,000 sent to them by UC at a Western Union in
Kinshasa, DRC.

Overt Act 5: On or about December 11, 2019, LOKUA sent a video of himself, via
electronic message, to SOI, in which LOKUA shows two large elephant tusks on a scale, and
states that he will be sending SOI the two tusks in the video.

Overt Act 6: On or about January 22, 2020, LOKUA sent an electronic message to SOI,
stating that LOKUA was unable to ship the tusks through the airport at that time.

Overt Act 7: On or about March 21, 2020, LOKUA sent a photo of four rhinoceros
horns to SOI, via electronic message, and offered to sell the horns to SOL.

Overt Act 8: In or about June 2020, LOKUA told SOI, via electronic message, that he
was again able to ship elephant ivory via airfreight, and offered an additional 50 kg of ivory for
an additional payment of $8,500.

Overt Act 9: On or about June 26, 2020, LOKUA stated, via electronic message, that
SOI should send the additional $8,500 to LOKUA’s cousin, MUJANGI. LOKUA then

provided a photo of MUJANGI’s passport and bank account number at Procredit Bank Congo.

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Overt Act 10: On or about July 1, 2020, LOKUA confirmed, via electronic message,
that a test payment of $400 sent by UC had been received in MUJANGI’s bank account.

Overt Act 11: On or about July 1, 2020, LOKUA sent SOI photographs and videos, via
electronic message, depicting 11 pieces of elephant tusk weighing a total of approximately 99.95
kg.

Overt Act 12: On or about July 2, 2020, LOKUA sent SOI photographs and videos, via
electronic message, showing numerous pieces of elephant ivory being wrapped in tin foil and
concealed in suitcases.

Overt Act 13: On or about July 9, 2020, LOKUA sent SOI an electronic message
confirming that the additional $8,010 payment sent by UC had been received in MUJANGI’s

bank account.

Overt Act 14: On or about August 15, 2020, LOKUA told SOI, via electronic message,
that LOKUA was capable of providing up to 12 tons of elephant ivory if SOI was willing to buy
large quantities.

Overt Act 15: On or about August 15, 2020, LOKUA told SOI, via electronic message,
that LOKUA could cut the elephant ivory into small pieces, spray paint the ivory black, and
comingle the ivory with black wood in order to ship the ivory via commercial mail carrier
without detection by authorities.

Overt Act 16: On or about August 17, 2020, LOKUA sent a picture, via electronic
message, showing ivory being cut into roughly rectangular pieces.

Overt Act 17: On or about August 19, 2020, LOKUA sent a package to UC in Seattle
via DHL containing 28 pieces of spray painted elephant ivory, which weighed approximately

4.123 kg, and 20 pieces of ebony wood. The package was received on or about August 26, 2020.

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The documents accompanying the shipment described the contents as “wood” with a value of
$60.

Overt Act 18: On or about August 28, 2020, LOKUA sent SOI an electronic message
with three photos showing additional elephant ivory being cut into roughly rectangular pieces.

Overt Act 19: On or about August 31, 2020, LOKUA and MUJANGI sent a second
package of spray painted elephant ivory to UC in Seattle. The package was received on or about
September 7, 2020. The package contained 25 pieces of elephant ivory which weighed
approximately 5.1 kg. The documents accompanying the shipment stated that the shipment was
sent by MUJANGI, and contained “wood” with a value of $60.

Overt Act 20: On or about August 31, 2020, LOKUA sent SOI two photos, via
electronic message, depicting trucks full of bulk rubber, and stated that the rubber could be used
to conceal future large shipments from the seaport.

Overt Act 21: On or about September 7, 2020, LOKUA told SOI, via electronic
message, that airport officials knew that the ivory is forbidden, and thus LOKUA still could not
ship via the airport.

Overt Act 22: On or about September 22, 2020, LOKUA and MUJANGI sent a third
package of elephant ivory to UC in Seattle. The package was received on or about September 29,
2020. The package contained 23 pieces of spray painted elephant ivory which weighed
approximately 12.75 kg. The documents accompanying the shipment stated that the shipment
was sent by MUJANGL, and contained “wood” with a value of $60.

Overt Act 23: On or about October 23, 2020, LOKUA offered SOI, via electronic

message, 110 kg of elephant ivory.

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Overt Act 24: On or about November 5, 2020, LOKUA offered SOI, via electronic
message, a 4 kg rhinoceros horn for $30,000.

Overt Act 25: On or about November 11, 2020, LOKUA told SOI, via electronic
message, that LOKUA could obtain a 20-foot shipping container and materials to conceal
elephant ivory or rhinoceros horn for $27,000. LOKUA further stated that he could use corn to
conceal the illicit products and bribe officials at the port in order to smuggle the goods out of the
DRC.

Overt Act 26: On or about November 12,2020, LOKUA offered, via electronic
message, to sell rhinoceros horns to SOI, and sent a photo of three rhinoceros horns with a piece
of paper containing SOI’s name and the date.

Overt Act 27: On or about January 3, 2021, LOKUA sent SOI an electronic message
explaining how large sums of money, which would be needed to ship a 20-foot container of
illicit goods, can be paid to a Chinese bank. LOKUA further stated that a Vietnamese individual
in Kinshasa, DRC, is associated with the Chinese bank and would pay LOKUA in cash once
funds were received in the Chinese bank. LOKUA also sent the bank account information and
exchange rate.

Overt Act 28: On or about January 4, 2021, LOKUA sent SOI an electronic message
containing two photos depicting approximately 6 large bags of pangolin scales, and offered to
sell SOI 500 kg of pangolin scales for $30,000.

Overt Act 29: On or about January 6, 2021, LOKUA sent SOI an electronic message
containing two photos of shipping containers partially filled with sawn wood. LOKUA stated

that this is the wood that would be used to conceal large shipments of pangolin scales or elephant

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ivory, and that LOKUA is ready to ship the container for $26,000 plus the price of whatever
wildlife products SOI purchases.

Overt Act 30: On or about January 12, 2021, LOKUA stated, via electronic message,
that his aunt works at DILL, and therefore he will now be able to ship rhinoceros horn through
DHL. LOKUA included two photos of two rhinoceros horns with SOI’s name and the current
date on a piece of paper.

Overt Act 31: On or about February 2, 2021, LOKUA offered SOF, via electronic
message, a rhinoceros horn and 25 kg of pangolin scales for $18,000. LOKUA also provided
MUJANGI’s bank information at Equity Bank in the DRC for payment.

Overt Act 32: On or about February 5, 2021, LOKUA sent SOI an electronic message
with two photos of a rhinoceros horn on a piece of paper that had SOI’s name and the date
written on it. LOKUA also sent two additional photos, via electronic message, of himself
holding the rhinoceros horn.

Overt Act 33: On or about February 11, 2021, LOKUA confirmed, via electronic
message, that the initial payment of $6,000 sent by UC, which was a partial payment for the
rhinoceros horn, had been received in MUJANGI’s bank account.

Overt Act 34: On or about February 11, 2021, LOKUA, via electronic message,
requested the address in Seattle to which he should send the rhinoceros horn.

Overt Act 35: On or about February 15, 2021, LOKUA sent SOI, via electronic
message, a photo of a carved wooden mask that would be used to conceal the rhinoceros horn.

Overt Act 36: On or about February 19, 2021, LOKUA confirmed, via electronic

message, that MUJANGI had received in his bank account the remaining $12,080 sent by UC.

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Overt Act 37: On or about February 25, 2021, LOKUA told SOI, via electronic
message, that there were problems at DHL, and that if LOKUA tried to ship the horn through
DHL, he would be arrested.

Overt Act 38: On or about April 16, 2021, LOKUA offered, via electronic message to
SOI, to ship the rhinoceros horn to Seattle with two tons of ivory and one ton of pangolin scales
in a 20-foot shipping container.

Overt Act 39: On or about May 16, 2021, LOKUA stated, via electronic message to
SOI, that he would be able to cut the rhinoceros horn into smaller pieces and ship via DHL.
LOKUA provided two photos of the rhinoceros horn on a piece of paper containing SOI’s name
as well as the current date and time.

Overt Act 40: On or about May 19, 2021, LOKUA sent SOI, via electronic message,
four photos of the rhinoceros horn after it had been cut into six pieces.

Overt Act 41: On or about May 24, 2021, LOKUA and MUJANGI sent a package of

spray painted rhinoceros horn via DHL to UC in Seattle. The package was received on or about

June 3, 2021. The package contained 6 pieces of white rhinoceros horn weighing approximately

2.18 kg and 8 pieces of wood. The documents accompanying the shipment stated that the
package was sent by MUJANGI, and contained “sample wood” with a value of $50. The DHL
certification ‘was signed by MUJANGI. The package contained a declaration from the
Congolese Minister of Culture and Arts, which was also signed by MUJANGI.

Overt Act 42: On or about June 10, 2021, via electronic message, LOKUA agreed to a
face-to-face meeting with SOI in the United States in order to discuss a larger purchase of
elephant ivory, pangolin scales, and rhinoceros horn. LOKUA provided a photo of his passport

in order to facilitate the flight and visa process.

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Overt Act 43: On or about July 12, 2021, LOKUA requested, via electronic message to
SOL, that MUJANGI and another individual also be part of the face-to-face meeting in the
United States.

Overt Act 44: On or about July 14, 2021, LOKUA and SOI agreed, via electronic
message, that SOI would send $5,000 to LOKUA, and that LOKUA would provide some of the
funds to MUJANGI so that LOKUA and MUJANGI could show funds in their bank accounts
during the visa application process, and would later use the money to purchase additional
elephant ivory for SOI.

Overt Act 45: On or about July 14, 2021, LOKUA provided SOI, via electronic
message, with LOKUA’s account information at Banque Commerciale du Congo in order to
complete the $5,000 transfer.

Overt Act 46: On or about August 8, 2021, LOKUA confirmed, via electronic message,
receipt of $5,000 sent by UC in his bank account at Banque Commerciale du Congo in the DRC.

Overt Act 47: On or about August 10, 2021, LOKUA stated, via electronic message to
SOL, that he had begun his visa application and sent a photo of a receipt for a $160 that was used
to pay for the application.

Overt Act 48: On or about September 20, 2021, LOKUA and MUJANGI went to the
United States embassy in Kinshasa, DRC, submitted their passports, and were interviewed for
visa applications to travel to the United States.

Overt Act 49: On or about November 1, 2021, LOKUA and MUJANGI flew from

Kinshasa, DRC, to Seattle, Washington.

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Overt Act 50: On or about November 3, 2021, LOKUA and MUJANGI met with SOI
in the Western District of Washington and discussed future deals to traffic wildlife from Africa

to the United States.

All in violation of Title 18, United States Code, Section 371.

COUNT 2
Laundering of Monetary Instruments
(As to HERDADE LOKUA)

23. Paragraphs I through 14 of the Grand Jury’s Indictment are incorporated herein
by reference as if set forth in their entirety.

24. UC maintained a checking account at Bank of America that was used for financial
transactions with LOKUA (the “UC Account”). The UC Account was located in Washington
State.

25. From on or about November 26, 2019, through on or about September 29, 2020,
LOKUA arranged for wildlife products to be sent to the United States. During the relevant
period, UC sent approximately $14,500 from the United States to LOKUA through a variety of
means, including Western Union and electronic bank transfers, in exchange for elephant ivory, to
facilitate bribes, and to enable continued purchases of wildlife products.

26. The wildlife sent by LOKUA did not have the necessary CITES permits required
to import or export CITES-listed species. None of the shipments were declared to, or cleared by,
USFWS upon import, and no import permits were issued by USFWS as required by U.S.

regulations. The contents of the shipments were falsely labeled in violation of U.S. law and

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regulations. In total, LOKUA smuggled approximately 21.97 kg of elephant ivory from the DRC
into the United States.

27. From on or about November 26, 2019, through on or about September 29, 2020,
in the Western District of Washington, the Democratic Republic of Congo, and elsewhere,

HERDADE LOKUA,

defendant herein, did himself and did cause others to transport, transmit, and transfer a monetary
instrument and funds from a place in the United States, specifically Washington State, to and
through a place outside the United States, specifically the Democratic Republic of Congo, with
the intent to promote the carrying on of specified unlawful activity, to wit: Smuggling Goods
into the United States (Title 18, United States Code, Section 545),

All in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

COUNT 3
Laundering of Monetary Instruments
(All Defendants)
28. Paragraphs 1 through 14 of the Grand Jury’s Indictment are incorporated herein
by reference as if set forth in their entirety.

29. UC maintained a checking account at Bank of America that was used for financial

transactions with LOKUA and MUJANGI (the “UC Account”). The UC Account was located

-in Washington State.

30. From on or about February 9, 2021, through on or about June 3, 2021, LOKUA
and MUJANGI arranged for wildlife products to be sent to the United States. During the

relevant period, UC sent approximately $18,080 from the United States to LOKUA and

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INDICTMENT-14 NATURAL RESOURCES DIV.

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MUJANGI through electronic bank transfers, in exchange for one shipment of rhinoceros horn
that weighed approximately 2.13 kg, to facilitate bribes, and to enable continued purchases of
wildlife products.

31. The wildlife sent by LOKUA and MUJANGI did not have the necessary CITES
permits required to import or export CITES-listed species. None of the shipments were declared
to, or cleared by, USFWS upon import, and no import permits were issued by USFWS as
required by U.S. regulations. The contents of the shipment were falsely labeled in violation of
U.S. law and regulations.

32. From on or about February 9, 2021, through on or about June 3, 2021, in the
Western District of Washington, the Democratic Republic of Congo, and elsewhere,

HERDADE LOKODA and JOSPIN MUJANGI,
defendants herein, did themselves and did cause others to transport, transmit, and transfer a
monetary instrument and funds from a place in the United States, specifically Washington State,
to and through a place outside the United States, specifically the Democratic Republic of Congo,
with the intent to promote the carrying on of specified unlawful activity, to wit: Smuggling
Goods into the United States (Title 18, United States Code, Section 545),

All in violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

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INDICTMENT-15 NATURAL RESOURCES DIV.
150 M STREET, NE

WASHINGTON, DC 20002
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COUNTS 4 to 7
Smuggling goods into the United States
(All Defendants)
33. Paragraphs 1 through 14 of the Grand Jury’s Indictment are incorporated herein
by reference as if set forth in their entirety.
34.  Onor about the dates listed below, each date representing a separate count, in the
Western District of Washington and elsewhere,
HERDADE LOKUA and JOSPIN MUJANGI,

defendants herein, did knowingly and fraudulently cause merchandise to be brought into the

United States, specifically the wildlife listed below, contrary to laws and regulations of the

 

 

 

 

 

 

 

 

 

 

 

 

United States, by, among other things, knowingly failing to make the required declaration and
obtain the required authorization to import such items into the United States, in violation of Title
16, United States Code, Section 1538(e); and Title 50, Code of Federal Regulations, Sections
14.61, 14.52, 14.81, and 23.13(a).

COUNT | DATES | WILDLIFE

4 August 26, 2020 Elephant ivory (Loxodonta africana)

5 September 7, 2020 | Elephant ivory (Loxodonta africana)

6 September 29, 2020 | Elephant ivory (Loxodonta africana)

7 June 3, 2021 Rhinoceros horn (Ceratotherium simum)
Allin violation of Title 18, United States Code, Sections 545 and 2.

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INDICTMENT-16 NATURAL RESOURCES DIV.

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35. Paragraphs 1 through 14 of the Grand Jury’s Indictment are incorporated herein

COUNTS 8 to 11
Lacey Act False Labeling
(All Defendants)

by reference as if set forth in their entirety.

36. On about the dates listed below, each date representing a separate count, in the

Western District of Washington, the Democratic Republic of Congo, and elsewhere,

defendants herein, did knowingly make and submit, and cause to be made and submitted, false

HERDADE LOKQUA and JOSPIN MUJANGI,

records, accounts and labels of wildlife that were exported and imported, and were and were

intended to be, transported in foreign commerce, in that the defendants falsely labeled, and

caused to be falsely labeled, the shipments of wildlife set forth below:

 

COUNT | DATE

DESCRIPTION OF FALSIFICATION

 

 

 

 

8 August 26, 2020 Falsely labeled elephant ivory (Loxodonta africana) as “wood”

9 September 7, 2020 | Falsely labeled elephant ivory (Loxodonta africana) as “wood”

10 September 29, 2020 | Falsely labeled elephant ivory (Loxodonta africana) as “wood”
June 3, 2021 Falsely labeled rhinoceros horn (Ceratotherium simum) as “wood”

11

 

 

 

 

All in violation of Title 16, United States Code, Sections 3372(d)(2) and

3373(d)(3)(A)(@), and Title 18, United States Code, Section 2.

 

 

 

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INDICTMENT-17 NATURAL RESOURCES DIV.
: 150 M STREET, NE

WASHINGTON, DC 20002
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TODD KIM

Assistant Attorney General

U.S. Department of Justice

Environment and Natural Resources Division

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P APRICK M. DUGGAN
Trial Attorney

U.S. Department of Justice
Environmental Crimes Section

 

United States v. HERDADE LOKUA, et al.
INDICTMENT-18

 

 

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BN C. CONNORS
Tal Attorney

U.S. Department of Justice
Environmental Crimes Section

ENVIRONMENT AND
NATURAL RESOURCES DIV.
150 M STREET, NE
WASHINGTON, DC 20002
(202) 305-0321
